Case 2:03-CV-02351-SH|\/|-tmp Document 95 Filed 08/22/05 Page 1 of 2 Page|D 107

 

D.C.
IN THE UNI'I‘ED STATES DISTRICT coUIH\-ED mm
FOR THE wESTERN DISTRICT oF TENNESSEE H w 33
wESTERN DIvISION 05 AUG 22
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\<-r '\_ .
ALMA BOYKINS, U‘S. _ 3 3.~
mg CF[¢,M;NAH§
Plaintiff,
vs. No. 03-2351-MaP

SEARS AND ROEBUCK, INC. ,

Defendant.

 

ORDER

 

On November 3, 2004, plaintiff filed a motion in limine to
exclude previous employment information (D.E. #50). The court
entered an order on May 19, 2005, (D.E. #69) denying plaintiff’s
motions in limine, including the motion to exclude employment
information. The motion Should therefore be removed from the 6-
month CJRA pending motions list.

It is So ORDERED this ljl<;ay of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

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This notice confirms a copy cf the document docketed as number 95 in
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Honorable Samuel Mays
US DISTRICT COURT

